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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 23-60800-CIV-SINGHAL

  GBB DRINK LAB, INC.,

            Plaintiff,

  v.

  FSD BIOSCIENCES, INC. and
  FSD PHARMA, INC.,

       Defendants.
  __________________________________/

                                             ORDER

            THIS CAUSE is before the Court on Defendants FSD Biosciences, Inc., and FSD

  Pharma, Inc.’s Motion to Dismiss Plaintiff GBB Drink Lab, Inc.’s First Amended Complaint

  (DE [26]), filed on June 23, 2023. Plaintiff filed a Response in Opposition to Defendants’

  Motion (DE [28]) on July 3, 2023. Defendants then filed a Reply (DE [29]) on July 11,

  2023. The Motion is ripe for this Court’s review.

       I.       BACKGROUND

            This is a case of a business deal gone awry. Plaintiff GBB Drink Lab, Inc. (“GBB”)

  credits itself with formulating the “world’s first rapid blood alcohol detoxification product.”

  (Am. Compl. (DE [19] at ¶ 1)).      In April 2022, Plaintiff explored a business opportunity

  with Defendants FSD Biosciences, Inc. (“FSD Biosciences”) and FSD Pharma, Inc. (“FSD

  Pharma”), wherein Defendants considered acquiring GBB and its assets. See id. at ¶ 13.

  As part of these discussions, GBB shared its proprietary formula pursuant to a Mutual

  Nondisclosure Agreement (the “Mutual NDA”). See id. at ¶ 14. According to Plaintiff, the

  parties understood that the potential transaction involved GBB’s “technology and know-

  how for a present invention that relates to a composition, and methods of using the
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  composition, for minimizing the harmful effects associated with alcohol consumption.” Id.

  at ¶ 15.

         A. Confidential Information

         The Mutual NDA provided that GBB’s “composition contains a plurality of

  ingredients, which when combined have the unexpected effect of increasing one or more

  metabolic pathways in the individual.” Id. “Confidential Information” under the Mutual

  NDA included, without limitation, “business plans, designs, engineering information,

  inventions, marketing plans, processes, products, product plans, research, specifications,

  and trade secrets.” Id. at ¶ 16.

         Plaintiff maintains that it would not have disclosed its proprietary formula without

  assurances from Defendants that its trade secret information would be maintained in the

  “strictest confidence.” Id. at ¶ 17. Plaintiff further contends that Defendants agreed to

  use the Confidential Information for the limited purpose of evaluating the potential

  business opportunity. See id. at ¶ 18. Accordingly, Plaintiff alleges that Defendants were

  prohibited from reverse engineering, disassembling, or decompiling anything in the

  Confidential Information without written consent from GBB.        See id.   Such express

  consent, Plaintiff maintains, was never provided to Defendants. See id. Under the Mutual

  NDA, the parties acknowledged that any violations of the agreement would entitle GBB

  to obtain injunctive relief “without the necessity of proving actual damages or posting

  bond,” in addition to other remedies available at law. Id. at ¶ 20.

         B. Defendants’ Due Diligence

         On August 5, 2022, the founder and CEO of an FSD Pharma subsidiary requested

  additional information to better understand GBB’s offerings, including a list of the

  ingredients, with quantities, of GBB’s composition and the manufacturing process for the

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  product and the scale at which GBB last executed its manufacturing, which GBB

  subsequently provided. See id. at ¶ 21. On August 22, 2022, as acquisition discussions

  continued, Defendants allegedly requested and received additional documentation from

  GBB, including (i) copies of GBB’s patents; (ii) copies of four provisional patents that were

  not yet available to the public; and (iii) a revised ingredient list that is not contained within

  any of GBB’s patents. See id. at ¶ 23. Plaintiff adds that Defendants gathered information

  during a site visit of GBB’s manufacturing partner in Dallas, Texas, on or about November

  8, 2022. See id. at ¶ 24. During this visit, Plaintiff maintains, Defendants met with GBB’s

  formulator and discussed methods and techniques for combining ingredients to

  manufacture GBB’s proprietary formula. See id. Plaintiff contends that the revised

  ingredient list and the way in which the ingredients are combined, each independently a

  trade secret, are neither generally known to the public nor included in any of GBB’s

  existing patents. Id. at ¶ 25.

         Defendants allegedly engaged in further due diligence efforts, including an October

  2022 request from Defendants for ten bottles of GBB’s working drink formula, to which

  GBB obliged. See id. at ¶ 27. Notwithstanding extensive discussions, the parties never

  entered into an agreement for Defendants to purchase GBB or any of its assets. See id.

  at ¶ 30.

         C. Defendants Announce a Competitor Product

         On February 14, 2023, Defendants announced a research and development

  program targeting the “unmet medical needs for alcohol misuse” (the “February 14, 2023

  Press Release”). Id. at ¶ 31. On February 23, 2023, GBB emailed Defendants and

  requested a call to discuss Defendants’ plans in detail. See id. at ¶ 34. Plaintiff maintains

  that Defendants added two prominent figures to FSD Pharma’s Advisory Board in

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  connection with their forthcoming product, including Kevin Harrington, an entrepreneur

  who has appeared on the prominent television show Shark Tank, and former Celsius

  Holdings CEO, Gerry David. See id. at ¶¶ 35, 40.

         On March 1, 2023, GBB and Defendants held a conference call during which

  Defendants signaled they would move forward with their plans as announced in the

  February 14, 2023 Press Release. See id. at ¶ 39. On April 14, 2023, GBB sent

  Defendants a cease-and-desist demand letter, which highlighted that the study

  announced in Defendants’ Press Release was the “direct result of Defendants’ receipt of

  confidential and proprietary information” from GBB. Id. at ¶ 35.

         Plaintiff’s Amended Complaint details several allegations relating to Defendants’

  forthcoming program. Plaintiff contends, upon information and belief, that FSD Pharma’s

  interim CEO advised a third party of Defendants’ plans to create a drink that is almost

  identical to the drink that GBB was actively working on and shared with Defendants. See

  id. at ¶ 44. Plaintiff also alleges that, of the nineteen ingredients in Defendants’ drink,

  sixteen overlap with those in GBB’s drink. See id. at ¶ 45. One of these ingredients,

  according to Plaintiff, is a “key element” of GBB’s formula that could only have come from

  GBB. See id. at ¶ 46. Finally, Plaintiff maintains, upon information and belief, that

  Defendants engaged Power Brands to assist in the development of a competitor product

  and, on or about May 14, 2023, Power Brands contacted GBB’s ingredient supplier to

  discuss the availability of two ingredients in GBB’s drink. See id. at ¶ 48.

         Plaintiff filed the Amended Complaint on June 9, 2023, alleging a breach of the

  parties’ Mutual NDA (Count I) as well as misappropriation of trade secrets under 18

  U.S.C. § 1836 (Count II) and under the Florida Uniform Trade Secrets Act (Count III).

  Defendants moved to dismiss Plaintiff’s Amended Complaint in its entirety.

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     II.      LEGAL STANDARD

           A. Motion to Dismiss

           At the pleading stage, a complaint must contain “a short and plain statement of the

  claim showing the [plaintiff] is entitled to relief.” Fed. R. Civ. P. 8(a). Although Rule 8(a)

  does not require “detailed factual allegations,” it does require “more than labels and

  conclusions . . . a formulaic recitation of the cause of action will not do.” Bell Atl. Corp. v.

  Twombly, 550 U.S. 544, 555 (2007). To survive a motion to dismiss, “factual allegations

  must be enough to raise a right to relief above the speculative level” and must be sufficient

  “to state a claim for relief that is plausible on its face.” Id. at 555. “A claim has facial

  plausibility when the plaintiff pleads factual content that allows the court to draw the

  reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2009).

           In considering a Rule 12(b)(6) motion to dismiss, the court’s review is generally

  “limited to the four corners of the complaint.” Wilchombe v. TeeVee Toons, Inc., 555 F.3d

  949, 959 (11th Cir. 2009) (quoting St. George v. Pinellas Cty., 285 F.3d 1334, 1337 (11th

  Cir. 2002)). Courts must review the complaint in the light most favorable to the plaintiff,

  and it must generally accept the plaintiff’s well-pleaded facts as true. Hishon v. King &

  Spalding, 467 U.S. 69, 73 (1984); Am. United Life Ins. Co. v. Martinez, 480 F.3d 1043,

  1057 (11th Cir. 2007). However, pleadings that “are no more than conclusions are not

  entitled to the assumption of truth. While legal conclusions can provide the framework of

  a complaint, they must be supported by factual allegations.” Iqbal, 556 U.S. at 679.




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      III.      DISCUSSION

             A. Plaintiff’s Breach of Contract Claim (Count I)

             Defendants argue that Plaintiff fails to allege sufficient facts to support its breach

  of contract claim and, accordingly, moves to dismiss Count I of the Amended Complaint.

  See (Mot. (DE [26] at 19 1)). A breach of contract claim under Florida law requires proof

  of three elements: (1) the existence of a valid contract; (2) a material breach; and (3)

  damages. Havens v. Coast Fla., P.A., 117 So.3d 1179, 1181 (Fla. 2d DCA 2013).

             Defendants argue that Plaintiff’s breach of contract allegations are too vague to

  support a valid breach of contract claim. See (Mot. (DE [26] at 19–21)). Defendants

  specifically contend that Plaintiff failed to demonstrate Defendants’ use of the two

  purported trade secrets – the (i) revised ingredient list and (ii) product-specific

  manufacturing information. See id. As for the revised ingredient list, Defendants maintain

  that Plaintiff fails to allege that a “subset of ingredients, or any single ingredient, is

  confidential.” Id. at 20. Defendants additionally argue that Plaintiff has not alleged that

  Defendants used every ingredient in the revised ingredient list, as required to state a

  breach of contract claim based on a combination trade secret. See id. (citing Vital State

  Canada, Ltd. v. DreamPak, LLC, 303 F. Supp. 2d 516, 529 (D.N.J. 2003)).                        While

  Defendants acknowledge that Plaintiff identifies a “single, nameless ingredient,”

  Defendants nevertheless argue that the Amended Complaint fails to allege that the

  ingredient is confidential under the terms of the NDA. (Mot. (DE [26] at 20)).

             Defendants’ arguments misstate the Amended Complaint. Plaintiff’s Amended

  Complaint clearly states that GBB’s revised ingredient list is not generally known to the



  1 All page numbers reference the pagination generated by the electronic CM/ECF database, which appears

  in the headers of all court filings.
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  public. See (Am. Compl. (DE [19] at ¶ 25 (“[t]he revised ingredient list and the way in

  which the ingredients are combined, each a trade secret . . . are not generally known by

  the public.”); (“[t]o be clear, the [revised ingredient list and ingredient combination] was

  not generally known . . . and is not contained in any of GBB’s patents.”). And, as

  Defendants acknowledge, Plaintiff alleges that Defendants included a “minimum of one []

  ingredient” in their formula that “could only have come from GBB” and is, as Plaintiff

  contends, a “key element” of GBB’s drink formula. (Am. Compl. (DE [19] at ¶ 47)).

  Construing the allegations in Plaintiff’s favor, this Court understands the “key” ingredient

  to be among the ingredients in Plaintiff’s revised ingredient list. See id. (indicating that

  Plaintiff shared the key ingredient “only because of the existence of the Mutual NDA.”).

  Nor is this Court persuaded by Defendants’ argument that Plaintiff must demonstrate

  Defendants’ use of “each and every element in the combination.” (Mot. (DE [26] at 20)).

  Defendants’ cited authority, Vital State Canada, Ltd., concerned cross-motions for a

  preliminary injunction where the defendant, in seeking to protect its combination trade

  secret, conceded that “a lot of the individual aspects . . . in and of themselves are not

  trade secrets . . . [I]t is the collection of these items that forms the technology.” See 303

  F. Supp. 2d at 529. Ultimately, the Court concluded that the defendant fell short of

  showing a misuse of its combination of elements where the evidence “d[id] not show every

  element of the combination claimed as a trade secret.” Id. at 530. An appellate court

  recently rejected such reasoning in Caudill Seed & Warehouse Co., Inc. v. Jarrow

  Formulas, Inc., 53 F.4th 368 (6th Cir. 2022). There, the Sixth Circuit concluded that trade-

  secrets law does not necessarily require “showing acquisition of each atom of a

  combination trade secret.” Caudill Seed & Warehouse Co., Inc., 53 F.4th at 385. In this

  case, GBB alleges that Defendants have prepared a “parallel program us[ing] sixteen (16)

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  ingredients, of the nineteen (19) ingredients . . . that are identical to the ingredients in

  GBB’s drink.” (Am. Compl. (DE [19] at ¶ 45)). Nowhere in the Amended Complaint does

  Plaintiff allege that all nineteen of the ingredients are necessary to create a parallel

  program, or competitor drink, and this Court sees no reason to impose such a

  requirement. See Caudill Seed & Warehouse Co., Inc., 53 F.4th at 385 (“Trade-secrets

  law does not demand a mirror-image between the misappropriated secrets and the

  eventual product derived from them.”) (citing Restatement (Third) of Unfair Competition §

  40 cmt. c (Am. L. Inst. 1995)). As such, Plaintiff has pleaded the confidential nature of

  the revised ingredient list with requisite specificity.

         Defendants challenge Plaintiff’s second alleged trade secret – “information

  gathered by Defendants” for “learning the methods and techniques of combining the

  ingredients and manufacturing the drink” – as insufficiently pleaded. (Mot. (DE [26] at

  20)) (citing Am. Compl. (DE [19]) at ¶ 24)). Defendants contend that Plaintiff’s references

  to Defendants’ “study,” “research and development program,” and “parallel program” are

  too vague to support a plausible breach of contract claim absent further “factual content”.

  See (Mot. (DE [26] at 21))(quoting Am. Registry, LLC v. Hanaw, No. 2:13-CV-352-FTM-

  29, 2013 WL 6332971, at *1 (M.D. Fla. Dec. 5, 2013)). This Court disagrees. Plaintiff

  alleges a specific instance – a visit on or around November 7, 2022 with Defendants at

  GBB’s manufacturing plant. See (Am. Compl. (DE [19] at ¶ 28)). On that day, according

  to the Amended Complaint, GBB demonstrated the “precise methods, exact ingredients,

  techniques, formulas, and equipment” used by GBB to formulate its proprietary drink. Id.

  Plaintiff also adds, upon information and belief, that Defendants engaged Power Brands

  to assist them in creating a “competitor product.” Id. at ¶ 48. Plaintiff further alleges that

  Power Brands contacted GBB’s supplier of ingredients to discuss the availability of two

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  specific ingredients in GBB’s drink. See id. Finally, Plaintiff asserts that Defendants

  “would never have known” of the ingredients “but for GBB’s disclosure to Defendants”

  under the Mutual NDA. Id. From the above, it is apparent, at least to this Court, that

  Plaintiff takes issue with Defendants’ development of a competing drink, which relies on

  most of the same ingredients (and methods for combining such ingredients) as Plaintiff’s

  proprietary beverage. Plaintiff’s allegations “sufficiently put Defendant[s] on notice of the

  claim against it and the grounds upon which that claim rests,” and is all that is required at

  this stage. Trinity Graphic, USA, Inc. v. Tervis Tumbler Co., 320 F. Supp. 3d 1285, 1295

  (M.D. Fla. 2018).

         B. Misappropriation of Trade Secrets (Counts II and III)

         Defendants similarly argue that Plaintiff fails to state claims for trade secret

  misappropriation under 18 U.S.C. § 1836 (Count II) and under the Florida Uniform Trade

  Secrets Act (Count III). (Mot. (DE [26] at 11–18)).

         Plaintiff alleges a misappropriation of trade secrets under 18 U.S.C. § 1836 (the

  “Defend Trade Secrets Act” or “DTSA”) and the Florida Uniform Trade Secrets Act (the

  “FUTSA”). To bring a viable claim under the DTSA, Plaintiff must plausibly allege that it

  (i) “possessed information of independent economic value” that (a) “was lawfully owned

  by” the plaintiff and (b) for which the plaintiff “took reasonable measures to keep secret,”

  and (ii) the defendant “used and/or disclosed that information,” despite (iii) “a duty to

  maintain its secrecy.” Sentry Data Sys., Inc. v. CVS Health, 361 F. Supp. 3d 1279, 1293

  (S.D. Fla. 2018). Similarly, “[t]o prevail on a FUTSA claim, a plaintiff must demonstrate

  that (1) it possessed a ‘trade secret’ and (2) the secret was misappropriated.” Yellowfin

  Yachts, Inc. v. Barker Boatworks, LLC, 898 F.3d 1279, 1297 (11th Cir. 2018). As with

  DTSA claims, to qualify as a “trade secret” under FUTSA plaintiff must allege that the

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  information “[d]erives independent economic value, actual or potential, from not being

  generally known to, and not being readily ascertainable by proper means by, other

  persons who can obtain economic value from its disclosure or use.”              Fla. Stat. §

  688.002(4). The allegedly trade secret information must also be “the subject of efforts

  that are reasonable under the circumstances to maintain its secrecy.” Id. The Eleventh

  Circuit has acknowledged that DTSA and FUTSA claims “largely mirror[]” each other.

  Compulife Software, Inc. v. Newman, 959 F.3d 1288, 1311 n. 13 (11th Cir. 2020). This

  Court accordingly considers Plaintiff’s DTSA and FUTSA claims together.

         Courts adjudicating FUTSA cases have required a plaintiff to “identify with

  reasonable particularity the trade secrets at issue before proceeding with discovery.”

  DynCorp Int'l v. AAR Airlift Grp., Inc., 664 F. App'x 844, 848 (11th Cir. 2016). “However,

  to satisfy this requirement at the dismissal stage in federal court, the plaintiff need only

  allege sufficient facts to plausibly show a trade secret was involved and to give the

  defendant notice of the material it claims constituted a trade secret.” Id. (citing Twombly

  550 U.S. at 555–56; other citations omitted). Nevertheless, to state a claim with “sufficient

  particularity,” a plaintiff must do more than merely “identify broad categories of

  information, such as financial and technical data.” Id. at 849.

         Defendants contend that Plaintiff cannot maintain actions for misappropriation of

  trade secrets under the DTSA and FUTSA because Plaintiff fails to (i) identify the alleged

  trade secrets with sufficient particularity; (ii) allege any economic value for the

  misappropriated information; and (iii) show how the “manufacturing information” was

  misappropriated by Defendants. Defendants’ first and third arguments fail for many of

  the same reasons discussed above. Plaintiff has sufficiently identified two trade secrets

  – the revised ingredients list and the specific manufacturing information imparted to

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  Defendants during a November 2022 visit with Plaintiff’s manufacturer. To use Plaintiff’s

  own words, the Amended Complaint is “as direct as it can possibly be without giving away

  its secret to anyone with a PACER account.” (Pl.’s Opp. (DE [28] at 14)). In any event,

  “whether something is a trade secret is a question typically ‘resolved by a fact finder after

  full presentation of evidence from each side.’” Compulife Software, Inc., 959 F.3d at 1311

  (quoting Lear Siegler, Inc. v. Ark-Ell Springs, Inc., 569 F.2d 286, 288–89 (5th Cir. 1978)2).

  Plaintiff has likewise alleged Defendants’ misappropriation of trade secrets with requisite

  particularity. Per the Amended Complaint, Defendants “knew or should have known that

  the Confidential Information and trade secrets obtained by Defendants constituted trade

  secrets belonging to GBB,” which Defendants were “not authorized to use . . . outside of

  the limited Permitted Use specified in the Mutual NDA.” (Am. Compl. (DE [19] at ¶ 65)).

  Nevertheless, as Plaintiff alleges, information within Defendants’ February 14, 2023 Press

  Release drew directly from “Defendants’ receipt of confidential and proprietary

  information from GBB.” Id. at ¶ 42. And, as discussed above, Plaintiff alleges that

  Defendants have started to develop a “competitor product” which relies on many of the

  same ingredients as Plaintiff’s proprietary formula, including one “key element” that

  Defendants only learned of “because of the existence of the Mutual NDA.” Id. at ¶ 47–

  48.

          Defendants’ second argument, that Plaintiff fails to allege that its trade secrets

  “derive[] economic value from not being readily ascertainable by others,” likewise fails to

  persuade this Court. (Mot. (DE [26] at 15)) (citing Del Monte Fresh Produce Co. v. Dole

  Food Co., 136 F. Supp. 2d 1271, 1291 (S.D. Fla. 2001)). According to Defendants,



  2 In Bonner v. City of Prichard, Ala., 661 F.2d 1206, 1207 (11th Cir. 1981), the Eleventh Circuit adopted as

  binding precedent former Fifth Circuit decisions handed down prior to September 30, 1981.
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  Plaintiff’s allegations that its trade secret information is “extremely valuable,” is too vague

  and conclusory to support Plaintiff’s claims. See (Mot. (DE [26] at 13–14)) (citing Am.

  Compl. (DE [19] at ¶ 20)). Equally insufficient, Defendants argue, is Plaintiff’s allegation

  that “multiple potential serious investors of GBB pull[ed] out of contemplated multi-million

  dollar deals.” (Mot. (DE [26] at 14)) (citing Am. Compl. (DE [19] at ¶¶ 52, 69)). According

  to Defendants, Plaintiff fails to allege that it engaged with “multiple potential serious

  investors” in dealings that related to its trade secrets.

         Drawing all inferences in Plaintiff’s favor, this Court concludes that Plaintiff has

  sufficiently demonstrated that its trade secrets derived economic value from not being

  readily ascertainable by others. Plaintiff alleges that the unidentified investors pulled out

  of the contemplated deals “because of Defendants’ announcements (and the promotional

  content) related to the development and planned future launch of a competing product

  that utilizes GBB’s confidential information.” (Am. Compl. (DE [19] at ¶ 52)) (emphasis

  added). According to Plaintiff, the multiple serious investors –which, at one time, even

  included Defendants– discontinued discussions with Plaintiff once they learned of

  Defendants’ competitor product.        See (Am. Compl. (DE at ¶¶ 52, 69)).            Plaintiff

  accordingly suggests, in a manner sufficient to survive dismissal, that its product derived

  economic value from its proprietary nature. Put simply, even the threat of a competing

  product was enough to cause GBB’s potential investors to lose interest in its product.

  Therefore, Plaintiff’s allegations go beyond alleging that its trade secret information is

  “highly valuable” and, accordingly, survive Defendant’s Motion to Dismiss. Cf Del Monte

  Fresh Produce Co., 2012 WL 12855462, at *3 (finding allegations that information is

  “highly valuable,” without more, provides “insufficient facts to determine whether the

  information rises to the level of a trade secret.”). Accordingly, it is hereby

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         ORDERED and ADJUDGED that Defendants FSD Biosciences, Inc., and FSD

  Pharma, Inc.’s Motion to Dismiss Plaintiff GBB Drink Lab, Inc.’s First Amended Complaint

  (DE [26]) is DENIED. Defendants shall answer the Amended Complaint within fourteen

  (14) days of this Order.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida this 8th day of

  January 2024.




  Copies to Counsel of Record via CM/ECF




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